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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J

on APRIL 20, 2010

JUDGE BARBIER
This Document Relates to:

DOAN V. PHAM, et al. v.
BP Exploration & Production, et al
EDLA No. 10-4238

MAG. JUDGE SHUSHAN

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ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT 1S HEREBY ORDERED that Plaintiffs JOE DANG and AN NGUYEN’S Motion
for Leave of Court to Voluntarily Dismiss Claims Without Prejudice is hereby in all things

is GRANTED.
IT IS FURTHER ORDERED THAT that the claims of Plaintiffs JOE DANG and
AN NGUYEN only, as listed on Exhibit “A” attached to said Motion are hereby dismissed

without prejudice. This Order in no way affects the claims of the remaining Plaintiffs in

this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
